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                         Exhibit F
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    From:              Sandra Musumeci
    To:                Will Sears; wdp@kellerpostman.com; albert.pak@kellerpostman.com; Adam Wolfson; Kevin Teruya
    Cc:                Sondra Hemeryck; Joshua Roquemore
    Subject:           RE: RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era ADR
    Date:              Wednesday, September 7, 2022 7:52:59 PM
    Attachments:       image001.png


    Hi Will,

    I hope you had a nice holiday weekend too. Thanks for following up. I am not sure that I have much
    to report, other than that we believe that we have reached an impasse on RFP Nos. 6, 7, 10, and 13,
    as well as No. 8 if Plaintiffs are not satisfied with the offer of proof that we have already made. We
    intend to file a motion to quash as to these issues and agree with you that it makes the most sense
    to appear before Judge Wu, and not N.D.Ill., given that the subpoena pertains to Judge Wu’s ruling
    about the scope of discovery. We are happy to try to agree in advance about a briefing schedule and
    then file a stipulation with the Court. Do you have dates in mind? I might propose something along
    the lines of New Era filing a motion to quash by 9/19, Plaintiffs responding by 9/30, and any reply
    due by 10/7. Would that work for Plaintiffs?

    Regards,
    Sandy


    Sandra L. Musumeci
    Riley Safer Holmes & Cancila LLP
    Direct: 212.660.1032
    smusumeci@rshc-law.com
    www.rshc-law.com




    From: Will Sears <willsears@quinnemanuel.com>
    Sent: Wednesday, September 7, 2022 5:33 PM
    To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>; Joshua Roquemore <JRoquemore@rshc-
    law.com>
    Subject: RE: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New
    Era ADR

    Hi Sandy –

    Hope you had a nice weekend. I just wanted to follow up on our call Friday. I believe you were
    going to get back to us on: (i) RFP 8; and (ii) New Era’s preferred procedure for briefing any issues
    on which we have not reached agreement. Can you let us know where things stand on your end so
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    we can move forward?

    Best,

    Will


    From: Sandra Musumeci <SMusumeci@rshc-law.com>
    Sent: Monday, August 29, 2022 12:02 PM
    To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>; Joshua Roquemore <JRoquemore@rshc-
    law.com>
    Subject: Re: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New
    Era ADR

                              [EXTERNAL EMAIL from smusumeci@rshc-law.com]


    Will,

    How about 12 noon ET / 9am PT on Wednesday? I’m fairly free if that’s no good.

    Sandy

    Get Outlook for iOS

    From: Will Sears <willsears@quinnemanuel.com>
    Sent: Monday, August 29, 2022 1:47:48 PM
    To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com
    <wdp@kellerpostman.com>; albert.pak@kellerpostman.com <albert.pak@kellerpostman.com>;
    Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>; Joshua Roquemore <JRoquemore@rshc-
    law.com>
    Subject: RE: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New
    Era ADR

    Thanks Sandy – are there times Wednesday that would work instead?

    Best,

    Will


    From: Sandra Musumeci <SMusumeci@rshc-law.com>
    Sent: Monday, August 29, 2022 7:23 AM
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    To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>; Joshua Roquemore <JRoquemore@rshc-
    law.com>
    Subject: Re: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New
    Era ADR

                               [EXTERNAL EMAIL from smusumeci@rshc-law.com]


    Hi Will,

    My Tuesday afternoon is fully booked, other than 1pm ET. Would that work?

    Sandy

    Get Outlook for iOS

    From: Will Sears <willsears@quinnemanuel.com>
    Sent: Friday, August 26, 2022 11:12:58 AM
    To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com
    <wdp@kellerpostman.com>; albert.pak@kellerpostman.com <albert.pak@kellerpostman.com>;
    Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>; Joshua Roquemore <JRoquemore@rshc-
    law.com>
    Subject: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
    ADR

    Sandy –

    As we’ve discussed, we think our requests are reasonable and within the scope of the Court’s order.
    We’ve tried to accommodate New Era’s concerns and its status as a third party, but it’s very difficult
    for us to even evaluate New Era’s assertions about burden and the sensitivity of certain documents
    without getting the type of information about the discovery process that we have requested. We
    have been consistent in asking for that information—including a specific description of New Era’s
    search process—and we can’t further narrow or refine the requests mentioned below without
    knowing more.

    For example, if New Era were willing to provide us with “hit reports” quantifying the burden of our
    proposed terms, we would be open to considering reasonable modifications. But we cannot
    negotiate in the dark, so unless New Era is willing to provide additional information about its search
    process, as requested, it looks like we’re at impasse on at least RFPs 6, 7, 10, and 13. I note that
    providing such information is really in both of our interests, as it will help the Court evaluate New
    Era’s burden arguments, but if New Era is unwilling to do so, we don’t see another way forward on
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    these RFPs.

    As for RFP 8, let’s discuss that on Tuesday. We’re open to trying to narrow the issues to present to
    the Court, so while we don’t think New Era’s proposal on this request fully addresses our concerns,
    we’re willing to hear you out on it.

    As for Tuesday, something else has come up that morning, but I am free most of the afternoon.
    How’s 1PM PT/4PM ET?

    Best,

    Will


    From: Sandra Musumeci <SMusumeci@rshc-law.com>
    Sent: Wednesday, August 24, 2022 2:04 PM
    To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>; Joshua Roquemore <JRoquemore@rshc-
    law.com>
    Subject: RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era ADR

                               [EXTERNAL EMAIL from smusumeci@rshc-law.com]


    Will,

    I am in receipt of your email. We find it particularly disappointing that Plaintiffs are taking such an
    unreasonable and aggressive stance toward New Era, a nonparty to this dispute. Particularly when
    we have taken great care to be cooperative and reasonable, including engaging with you about your
    requests even prior to serving responses and objections, having a second meet and confer to discuss
    our objections and finding compromises on many requests, and most importantly, agreeing right off
    the bat to produce multiple categories of sensitive business documents, as well as produce a 30(b)
    (6) witness. There is no requirement that any party or nonparty run search terms in order to
    respond to a subpoena, particularly where the scope of the subpoena is limited and the responding
    entity has a well-organized and limited universe of responsive documents, as is the case here. The
    process we are undertaking is appropriate and more than sufficient to identify and produce the
    materials in New Era’s possession that are responsive to Plaintiffs’ requests. New Era has come to
    this process with nothing to hide as concerns the narrow question that the Court articulated, and
    our willingness to produce documents pertaining to that issue and even reach compromises as to
    materials that we view as likely outside that issue shows New Era’s good faith.

    That said, New Era will not agree to open season on its entire business, which is what Plaintiffs’
    subpoenas, as drafted, seek. Accordingly, we agree that we are likely at an impasse as to RFPs # 6, 7,
    10, and 13, as those broad requests are invasive and unduly burdensome fishing expeditions
    untethered to the narrow issue of unconscionability of Live Nation and Ticketmaster’s arbitration
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    clause for which the Court has allowed discovery. But we are unclear about how we are at an
    impasse about RFP #8, as you now contend. You had previously indicated that Plaintiffs would agree
    not to receive third party subscription agreements in exchange for information concerning whether
    Live Nation and Ticketmaster were New Era’s most significant clients. We have done that, and so
    your claim of an impasse is a surprise. Please explain what deficiency you see here, as we thought
    we had reached a reasonable compromise that Plaintiffs themselves proposed.

    A brief call on Tuesday to address outstanding issues works for me. How is 2pm ET / 11am PT? To
    the extent that you can provide clarity on some of your lingering concerns in advance of the call –
    particularly as to RFP #8 – that would be helpful.

    Regards,
    Sandy


    Sandra L. Musumeci
    Riley Safer Holmes & Cancila LLP
    Direct: 212.660.1032
    smusumeci@rshc-law.com
    www.rshc-law.com




    From: Will Sears <willsears@quinnemanuel.com>
    Sent: Wednesday, August 24, 2022 8:49 AM
    To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
    Subject: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
    ADR

    Thanks Sandy. We continue to have significant concerns about New Era’s responses and the process
    by which it is searching for documents, which we now understand does not involve search terms and
    rather “targeted” searches that are being done based on New Era’s own decisions about what is
    relevant and responsive. It also appears we may be at impasse on several requests, including RFPs
    6-8, 10, and 13. Can we set a time to discuss? If we are not able to reach agreement, we would like
    to set a schedule to brief a motion to compel, and will be prepared to discuss that on our call.

    The best time for me would be early next week, such as next Tuesday. However, we also don’t want
    this to lag, so if that does not work for you, please let me know, and we will try to find another time
    soon to discuss.

    Best,

    Will
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    From: Sandra Musumeci <SMusumeci@rshc-law.com>
    Sent: Tuesday, August 23, 2022 11:21 AM
    To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
    Subject: RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era ADR

                                  [EXTERNAL EMAIL from smusumeci@rshc-law.com]


    Will,

    Please see New Era’s responses to your queries below, in red. Please note that New Era reserves all
    rights, and by its statements and compromises below, it does not waive any previously-stated
    objections.

    Regards,
    Sandy

    Sandra L. Musumeci
    Riley Safer Holmes & Cancila LLP
    Direct: 212.660.1032
    smusumeci@rshc-law.com
    www.rshc-law.com




    From: Will Sears <willsears@quinnemanuel.com>
    Sent: Wednesday, August 10, 2022 7:04 PM
    To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
    Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
    ADR

    From: Will Sears
    Sent: Wednesday, August 10, 2022 4:04 PM
    To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
    albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
    <kevinteruya@quinnemanuel.com>
    Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
    Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
    ADR
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    Hi Sandy –

    Thank you for the call on Tuesday. As discussed, I’m writing to follow up on our document requests
    and memorialize the points we discussed. As also discussed, we think it makes sense to iron out any
    remaining issues there before discussing the deposition topics and logistics, though we hope to
    conclude our discussions on both soon.

    I’m also attaching the ESI Protocol and the Protective Order, which have both been approved by the
    Court. Thank you for these materials, which we had already retrieved from the Court docket.

    Information Regarding Search Process

    At the outset, as I requested on the call, we need more information from New Era about its search
    process in order to assess the sufficiency of that process. In particular, we need to know:
           Which document custodians New Era is searching, including their roles and the time they
           worked at New Era;
           Which sources of information for each custodian New Era is searching—i.e., emails, slacks,
           texts, etc.;
           What search terms, if any, New Era is using to search custodial documents (and if New Era is
           not using search terms, how responsive materials are being identified);
           Whether New Era has any centralized folders (i.e., shared drives or similar folders) containing
           responsive materials, including marketing documents, investor outreach materials, and
           business plans.

    While we appreciate that New Era is moving forward with its production, Plaintiffs are entitled to
    understand New Era’s search process and provide input on that process—including on the search
    terms New Era uses to identify responsive documents—to ensure our requests are adequately
    addressed. See, e.g., William A. Gross Constr. Assocs. v. Am. Mfrs. Mut. Ins. Co., 256 F.R.D. 134, 135
    (S.D.N.Y. 2009) (cautioning against “designing keyword searches in the dark, by the seat of the
    pants”); In re Seroquel Prods. Liab. Litig., 244 F.R.D. 650, 662 (M.D. Fla. 2007) (search terms “must be
    a cooperative and informed process”).

    Please confirm you will provide this information. We note that doing so sooner, rather than later,
    will be beneficial insofar as we can address any issues up front, rather than having to revisit them
    later on, after New Era has already begun producing documents.

    As previously stated, New Era believes that Plaintiffs’ request for extensive discussion as to New
    Era’s records-keeping and communications systems is unwarranted and certainly premature, given
    the narrow scope of discovery that the Court has permitted against nonparty New Era ADR, as well
    as New Era’s properly asserted objections to the requests that exceed the scope of the Court’s ruling
    or are otherwise improper. That said, in the interest of cooperation, New Era will disclose the
    following about its collection process for identifying potentially responsive documents.

        •   New Era has reviewed materials related to the following New Era custodians, who were the
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            only people who held roles by which they might have had any contact with Defendants or
            Latham & Watkins during the relevant time period:

                    •    Collin Williams
                    •    Rich Lee
                    •    Shane Mulrooney
                    •    Michelle Tyler
                    •    John Kerkstra
                    •    Shelby Ruettiger



        •   For each of these custodians, New Era is reviewing the respective @neweraadr.com email
            account (which has existed throughout the relevant timeframe), as well as potentially
            relevant documents and other material maintained by New Era. New Era conducted its
            business through email. New Era does not believe that there is any basis to run searches of
            custodians’ personal devices or other domain names, as custodians did not conduct
            business as to potentially responsive issues via personal devices or non @neweraadr.com
            emails. To the extent that New Era learns of potentially responsive information that was
            maintained on personal devices or in any other format through custodian interviews or
            other processes, New Era will collect and produce said materials as appropriate.
        •   Given New Era’s familiarity with its records and the limited universe of materials from which
            responsive materials may exist, New Era has not employed a search term protocol to
            identify potentially responsive documents. Instead, New Era has identified potentially
            responsive materials through custodial interviews and targeted reviews of New Era’s data.

    As an aside, New Era notes that the cases cited by Plaintiffs in connection with your demand for
    search term data do not actually require that New Era engage in any particular process for
    responding to nonparty document and deposition subpoena. To the contrary, they require
    compliance with Court discovery orders (which will not be a problem for New Era), as well as
    cooperation with opposing counsel in working through discovery issues, which New Era is also
    doing. While search term protocols are recognized as potentially useful for complex litigation and
    large scale discovery processes, there is no requirement that search terms be utilized, particularly in
    connection with limited scope nonparty subpoenas. Indeed, one of the cases you cited -- William A.
    Gross Constr. Assocs. v. Am. Mfrs. Mut. Ins. Co., 256 F.R.D. 134, 135 (S.D.N.Y. 2009) -- recognizes that
    the use of search terms to collect discovery need not always be utilized, and further, the use of
    search terms presents its own risks and limitations.

    Privileged Materials

    I understand from our call that New Era does not have a significant number of materials that it plans
    to withhold on the basis of privilege. If that changes, please let us know. We request that New Era
    prepare a log for any documents withheld on the basis of privilege, and would be happy to discuss
    that, when the time comes, if that would be helpful. This is a correct statement of our discussion.
    We do not presently expect to withhold a significant number of responsive documents on privilege
    grounds, and to the extent that we so withhold privileged documents, we expect to provide a log.
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 Should our view on that change, we will let Plaintiffs know.

 Timeframe for Discovery

 I understand from our call that New Era did its collection approximately one month ago and plans to
 update its production, as necessary, as time progresses. This is correct.

 Specific RFPs

       RFPs 1-3 (Communications with Defendants and Latham, Contracts with Defendants, and
       Payments from Defendants): We understand that New Era plans to produce documents
       responsive to these requests.
             As noted, we need to better understand New Era’s search process for these requests,
             as per my questions above. See above. New Era will produce responsive materials.

       RFP 4: Drafts of Rules and Procedures: We understand that New Era plans to produce
       responsive documents to the extent they are in New Era’s possession, custody, and control.
       However, we also understand that earlier drafts of the Rules and Procedures may not have
       been saved, or may have been overwritten during the drafting process.
             To help us understand this issue better, could you please provide a description of how
             the drafts were created—i.e., who was responsible for creating them, where/how were
             they saved (in a shared drive, on a document management system, etc.)? Information
             about the development of New Era’s Rules and Procedures can be elicited at
             deposition. New Era intends to produce prior published copies of the Rules and
             Procedures as PDFs, which is how they were preserved. In addition, prior versions of
             the Rules & Procedures are publicly available online via New Era’s website history
             (e.g. https://web.archive.org/).

       RFP 5: Drafts of Terms and Conditions: As with RFP 4, we understand that New Era plans to
       produce responsive documents to the extent they are in New Era’s possession, custody, and
       control, but that earlier drafts may not have been saved.
             We request the same information for RFP 5 as for RFP 4. Information about the
             development of New Era’s Terms and Conditions can be elicited at deposition. New
             Era’s Terms and Conditions are publicly available on its website and have not been
             altered or amended during the relevant time period.

       RFP 6: Documents Used to Advertise New Era: We understand New Era has objected to
       these requests. However, as I explained, and consistent with the Court’s order, such
       materials are relevant because they go to whether New Era tried to generate business by
       advertising itself as a forum that could defeat mass arbitration. If so, that is relevant to
       Plaintiffs’ allegations that New Era’s terms are designed to limit consumers’ rights in the mass
       arbitration context and thus are unconscionable. See ECF No. 50 at 4 (noting that “a party
       opposing a motion to compel arbitration is entitled to discovery relevant to the issue of
       unconscionability”) (citation omitted).
               As mentioned on the call, we are amenable to formulating search parameters that
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            would address New Era’s stated concerns with this request. For example, you
            mentioned that New Era does not want to search public sources, like social media
            accounts, for responsive documents. To that end, it would be helpful to know the
            information requested above regarding New Era’s search process. In the spirit of
            moving this forward, we also propose that New Era run the following search terms on
            the emails for the custodians it is already searching:
                   “Advertis!” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Marketing” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Business development” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham”
                   or “L&W” or “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or
                   “discovery” or “e-arbitration”)
                   “Pitch*” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Outreach” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Series A” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Invest*” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Funding” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Capital” w/50 (“New Era” or “ADR” or “mass arb*” or “Latham” or “L&W” or
                   “Ticketmaster” or “Live Nation” or “subscription” or “filing fee!” or “discovery”
                   or “e-arbitration”)
                   “Keller Lenkner”
            We note that we do not currently have any information about how New Era is
            conducting its search process, so we reserve the right to request additional/different
            terms if necessary. If New Era will not agree to run these terms, please provide us with
            hit reports for each term, including “unique” hits, so that we can assess New Era’s
            objection to adding the terms.
          New Era stands by its objections to this overbroad and irrelevant request. This request
          into New Era’s “advertising” constitutes a textbook fishing expedition which imposes a
          burden not remotely proportional to its questionable probative value. To the extent
          that New Era “generate[d] business by advertising itself as a forum that could defeat
          mass arbitration” (an allegation without basis), such still would not be relevant to the
          issue of the unconscionability of the arbitration clause in Live Nation and/or
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           Ticketmaster’s consumer agreement. Furthermore, publicly available advertising and
           social media materials put out by New Era make clear that New Era is designed to
           actually allow consumers’ claims to be heard and adjudicated faster and more
           efficiently. New Era will not agree to run the proposed searches.

      RFP 7: Documents Used to Raise Capital: We understand New Era has objected to this
      request. However, this request is relevant for similar reasons as RFP 6—if New Era uses anti-
      mass arbitration provisions in its Rules to raise capital, that is relevant to Plaintiffs’
      unconscionability arguments. Moreover, Plaintiffs allege that New Era is using its ties to
      Defendants to raise capital—a fact that calls into question its impartiality in cases involving
      Defendants. See ECF No. 34-1 at 2.
             To move this forward, we need more information from New Era about its search
             process. However, in the meantime, we’d propose running the same terms we
             suggested for RFP 6 to address RFP 7. Please let us know if New Era will do so.
           New Era stands by its objections to this overbroad and irrelevant request. This request
           into New Era’s efforts to raise capital likewise constitutes a textbook fishing expedition
           which imposes a burden not remotely proportional to its questionable probative value.
           To the extent that New Era “uses anti-mass arbitration provisions in its Rules to raise
           capital” (an allegation without basis), such still would not be relevant to the issue of the
           unconscionability of the arbitration clause in Live Nation and/or Ticketmaster’s
           consumer agreement. Furthermore, publicly available materials put out by New Era
           make clear that New Era is designed to actually allow consumers’ claims to be heard and
           adjudicated faster and more efficiently. New Era will not agree to run the proposed
           searches.

      RFP 8: Subscription Agreements: We understand New Era will produce subscription
      agreements for Defendants, but not for other third parties. This is correct.
            As explained, we need information about New Era’s subscription agreements with non-
            Defendants to determine how significant Defendant’s relationship with New Era is for
            New Era’s business model. In the interests of compromise, we’d propose that New Era
            provides us with: (i) a list of New Era’s executed subscription agreements with non-
            Defendants, as well as the dates on which the subscription agreements were signed
            and the length of the subscriptions; and (ii) the percentage of its subscription fee
            revenues that payments from Defendants and Latham make up. Please let us know if
            New Era will do so. In the interest of cooperation and compromise, New Era will
            disclose to Plaintiffs as an offer of proof (in advance of deposition) that LiveNation and
            Ticketmaster are not New Era’s largest clients and that New Era has earned more
            revenue from subscription agreements with other clients. New Era will not disclose
            information beyond this, as it is proprietary, not relevant to the limited scope of
            discovery permitted, and not proportional to the needs of the case. New Era stands by
            its previously stated objections.

      RFP 9: Information Required to Be Published by Law in CA, MD, and NJ: We understand
      that New Era has no documents responsive to this request, because it has not administered
      arbitrations involving citizens of California, Maryland, or New Jersey. If that is correct, please
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      confirm in writing. If that is incorrect, just let us know. This is correct as of the date of this
      response.

      RFP 10: Documents Regarding Keller Lenkner and Mass Arbitration: We understand that
      New Era has objected to this request. As explained, these documents are highly relevant
      because they go to whether New Era’s terms were designed to discourage mass arbitration
            First, can you please confirm that New Era will not withhold documents responsive to
            this request to the extent they turn up in New Era’s searches? That is, we understand
            that New Era objects to performing a search for these materials, but to the extent they
            turn up in New Era’s existing searches, they should be produced, as there is no
            incremental burden to doing so. This is correct. New Era will not withhold a document
            otherwise responsive to a category that it has agreed to produce because it includes
            mention of Keller Lenkner or Mass Arbitration.
            Second, we’d propose using the search terms we proposed in connection with RFP 6 to
            address any burden or overbreadth concerns. Please let us know if New Era will agree
            to do so. New Era will not agree to do so and stands by its previously stated
            objections. Given New Era’s familiarity with its records and the limited universe of
            materials from which responsive materials may exist, New Era has not employed a
            search term protocol to identify potentially responsive documents. Instead, New Era
            has identified potentially responsive materials through custodial interviews and
            targeted reviews of New Era’s data.

      RFP 11: Number of New Era Arbitrators and their Contracts: New Era proposed meeting
      and conferring to narrow this request. On the call, we discussed a potential compromise by
      which New Era would provide: (i) a standard-form contract it uses with its arbitrators; and (ii)
      a “look book” featuring some of its arbitrators. We are agreeable to that approach, though
      we also request that New Era provide us with the number of arbitrators it has on retainer.
      Please confirm whether we have agreement on this RFP. New Era will agree to this
      compromise, although it notes that it does not have any arbitrators “on retainer.” At
      deposition, it will share the number of arbitrators it has on its list of approved neutrals as of a
      particular date.

      RFP 12: Equity Stakes in New Era Its Arbitrators Hold: New Era proposed meeting and
      conferring to narrow this request. On the call, we discussed a potential compromise by which
      New Era would agree to answer deposition questions on this topic in lieu of a document
      production. We are amenable to that approach, but request that New Era provide us with
      information in advance of the deposition to make that process more efficient—for example,
      an overview of the equity stakes its arbitrators hold. We are open to discussing what form
      the information would take, but think the deposition will be more productive if we get some
      information in advance. Let us know if that approach works and if you’d like to discuss
      further. In the interest of cooperation and compromise, New Era will disclose to Plaintiffs as
      an offer of proof (in advance of deposition) that it has two arbitrators on its list of approved
      neutrals who have small equity stakes in New Era ADR. These two arbitrators are listed on
      New Era ADR’s webpage as “Advisors” and each have a 0.01% equity interest in New Era ADR.
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      RFP 13: Business Plans for New Era: New Era objected to this request, citing concerns with
      confidentiality, overbreadth, and relevance. As for confidentiality concerns, those should be
      resolved by the protective order. Regarding the other objections, we disagree. New Era has
      touted its business as “a whole new way of doing arbitration” (ECF No. 34-1 at 1), and
      Plaintiffs allege that this “new way of doing arbitration” is unconscionable and deters mass
      arbitration. New Era’s business plans are highly probative as to whether that is, in fact, the
      goal and effect of New Era’s business model.
              To address New Era’s concerns, we would be willing to use the search terms listed
              above to narrow the scope of this request. We also request that New Era inform us, as
              per the above, whether it has centralized folders containing business plans. Please let
              us know if you will provide that information and run the requested search terms.
       New Era stands by its objections to this overbroad and irrelevant request. This request into
       New Era’s “business plans” constitutes a textbook fishing expedition which imposes a
       burden not remotely proportional to its questionable probative value. Indeed, publicly
       available materials put out by New Era make clear that New Era is designed to actually allow
       consumers’ claims to be heard and adjudicated faster and more efficiently. New Era will not
       agree to run the proposed searches.

      RFP 14: Payments to New Era: New Era objected to producing information about payments
      it received from anyone other than Defendants and Latham. As I explained, we need this
      information to determine what percentage of New Era’s revenues come from Defendants and
      Latham. If there is another way to get that information, such as a representation that X% of
      New Era’s revenues come from Defendants and Latham, we are open to considering that.
      Please let us know.
        In the interest of cooperation and compromise, New Era will disclose to Plaintiffs that
        LiveNation and Ticketmaster are not New Era’s largest source of revenue. It is well-
        documented in public sources that New Era is a well-funded company. For example, see
        https://www.crunchbase.com/organization/neweraadr. New Era will not disclose
        information beyond this, as it is proprietary, not relevant to the limited scope of discovery
        permitted, and not proportional to the needs of the case. New Era stands by its previously
        stated objections.

       RFP 15: Payments from New Era: New Era objected to this request. As I explained, we
       need this information to, among other things, understand New Era’s business model and
       whether it pays rebates or incentive awards to certain clients. As a compromise, we suggest
       that New Era provide us with a list of any entities that have received payments (whether in
       the form of cash, rebates, or other consideration) worth more than $10,000 since its
       founding. Please let us know if New Era will do so. Although New Era believes that this
       request is yet another fishing expedition, in the interest of cooperation and compromise,
       New Era will disclose to Plaintiffs as an offer of proof (in advance of deposition) that it does
       not pay rebates, incentive awards, finders fees, referral fees, or any such payment to any
       clients. New Era will not disclose information beyond this, as it is proprietary, not relevant to
       the limited scope of discovery permitted, and not proportional to the needs of the case.
       New Era stands by its previously stated objections.
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                                 #:1014

         RFP 16: Number of Consumer Arbitrations Administered, and How They Were
         Administered: New Era proposed meeting and conferring to narrow this request. On our
         call, New Era stated that they thought this topic was more appropriate for a deposition than
         for document discovery. We are amenable to that approach, but request that New Era
         provide some information in advance of the deposition to make it more efficient. We request
         that New Era provide:
                The number of arbitrations it has administered;
                The rules under which those arbitrations were administered (i.e., whether New Era’s
                mass arbitration rules were used); and
                Whether the arbitrations were in person or over zoom.
                Please let us know if New Era will provide this information.
          In the interest of cooperation and compromise, New Era will disclose to Plaintiffs as an offer
          of proof (in advance of deposition) that as of the date of this email, New Era ADR has
          conducted one consumer arbitration. The arbitration was initiated by a consumer against
          Live Nation and heard and settled within 30 days from commencement. The proceedings
          were conducted remotely. The mass arbitration rules did not apply because the consumer
          arbitration involved a single consumer. Beyond this, New Era stands by its previously stated
          objections.

 We look forward to receiving New Era’s responses. We reserve all rights.

 Best,

 Will

 From: Will Sears
 Sent: Friday, August 5, 2022 2:44 PM
 To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

 Thanks Sandy – that works for us. I’ll send a zoom.

 Best,

 Will


 From: Sandra Musumeci <SMusumeci@rshc-law.com>
 Sent: Thursday, August 4, 2022 7:33 PM
 To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
Case 2:22-cv-00047-GW-GJS Document 74-6 Filed 09/26/22 Page 16 of 23 Page ID
                                 #:1015

 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

                               [EXTERNAL EMAIL from smusumeci@rshc-law.com]


 Hi Will,

 Sorry for the slow response. Let’s find time on Tuesday. How is Tuesday at 12 noon ET? If that does
 not work, please propose an alternative time.

 Many thanks,
 Sandy


 Sandra L. Musumeci
 Riley Safer Holmes & Cancila LLP
 Direct: 212.660.1032
 smusumeci@rshc-law.com
 www.rshc-law.com




 From: Will Sears <willsears@quinnemanuel.com>
 Sent: Thursday, August 4, 2022 9:23 PM
 To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

 Sandy –

 Just following up on this. Please let us know when you are available to discuss New Era’s responses
 and objections. We are flexible on Monday or Tuesday morning other than 10-11 AM ET, but would
 like to speak by early next week to ensure we can move this forward.

 Best,

 Will
 From: Will Sears
 Sent: Monday, August 1, 2022 2:46 PM
 To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
Case 2:22-cv-00047-GW-GJS Document 74-6 Filed 09/26/22 Page 17 of 23 Page ID
                                 #:1016

 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

 Sandy –

 Can we set up a time later this week to discuss the responses and objections that New Era served
 today? Let us know what works for you.

 Best,

 Will


 From: Will Sears
 Sent: Monday, July 18, 2022 7:17 PM
 To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

 That works – I’ll send an updated invite.


 From: Sandra Musumeci <SMusumeci@rshc-law.com>
 Sent: Friday, July 15, 2022 11:11 AM
 To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

                               [EXTERNAL EMAIL from smusumeci@rshc-law.com]


 That works. Is 3pm ET on Wednesday okay?

 Thanks,
 Sandy


 Sandra L. Musumeci
 Riley Safer Holmes & Cancila LLP
 Direct: 212.660.1032
Case 2:22-cv-00047-GW-GJS Document 74-6 Filed 09/26/22 Page 18 of 23 Page ID
                                 #:1017

 smusumeci@rshc-law.com
 www.rshc-law.com




 From: Will Sears <willsears@quinnemanuel.com>
 Sent: Friday, July 15, 2022 12:57 PM
 To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

 Sure – how about Wednesday afternoon?


 From: Sandra Musumeci <SMusumeci@rshc-law.com>
 Sent: Friday, July 15, 2022 8:45 AM
 To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

                               [EXTERNAL EMAIL from smusumeci@rshc-law.com]


 Will and all,

 With apologies for the late notice, I am going to need to postpone our meet and confer call
 regarding the subpoenas served upon New Era ADR until early next week, perhaps Tuesday or
 Wednesday. Are there times that work for you?

 Many thanks,
 Sandy


 Sandra L. Musumeci
 Riley Safer Holmes & Cancila LLP
 Direct: 212.660.1032
 smusumeci@rshc-law.com
 www.rshc-law.com
Case 2:22-cv-00047-GW-GJS Document 74-6 Filed 09/26/22 Page 19 of 23 Page ID
                                 #:1018

 -----Original Appointment-----
 From: Will Sears <willsears@quinnemanuel.com>
 Sent: Friday, July 8, 2022 3:46 PM
 To: Will Sears; Sandra Musumeci; wdp@kellerpostman.com; albert.pak@kellerpostman.com; Adam
 Wolfson; Kevin Teruya
 Cc: Sondra Hemeryck
 Subject: [EXTERNAL EMAIL] Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era ADR
 When: Friday, July 15, 2022 11:00 AM-11:30 AM (UTC-08:00) Pacific Time (US & Canada).
 Where: https://quinnemanuel.zoom.us/j/84980159681

 Will Sears is inviting you to a scheduled Zoom meeting.

 Join Zoom Meeting
 https://quinnemanuel.zoom.us/j/84980159681

 Meeting ID: 849 8015 9681

 One tap mobile
 +16469313860,,84980159681# US
 +16465588656,,84980159681# US (New York)

 Dial by your location
      +1 646 931 3860 US
      +1 646 558 8656 US (New York)
      +1 312 626 6799 US (Chicago)
      +1 301 715 8592 US (Washington DC)
      +1 720 707 2699 US (Denver)
      +1 253 215 8782 US (Tacoma)
      +1 346 248 7799 US (Houston)
      +1 669 444 9171 US
 Meeting ID: 849 8015 9681

 Alternate Dial-in Numbers: https://quinnemanuel.zoom.us/u/kcfcORhvbi

 Join by SIP
 84980159681@zoomcrc.com



 _____________________________________________
 From: Sandra Musumeci <SMusumeci@rshc-law.com>
 Sent: Friday, July 8, 2022 11:54 AM
 To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
Case 2:22-cv-00047-GW-GJS Document 74-6 Filed 09/26/22 Page 20 of 23 Page ID
                                 #:1019

 Subject: RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era ADR

                               [EXTERNAL EMAIL from smusumeci@rshc-law.com]


 Hi Will,

 I hope that you had a pleasant holiday weekend. I am following up on our correspondence from last
 week to see if we can schedule a time late next week to meet and confer about the scope of
 Plaintiffs’ deposition and document subpoenas to nonparty New Era ADR. I will propose Friday, July
 15th at 2pm ET. (If that does not work, please propose an alternative.) I am also confirming that
 New Era ADR will not be producing anyone for a deposition in Chicago on July 14 (as noticed), as we
 have previously agreed that we will reschedule a 30(b)(6) deposition for after documents have been
 produced and, as you know, we are working through that issue.

 Many thanks,
 Sandy


 Sandra L. Musumeci
 Riley Safer Holmes & Cancila LLP
 Direct: 212.660.1032
 smusumeci@rshc-law.com
 www.rshc-law.com




 From: Will Sears <willsears@quinnemanuel.com>
 Sent: Thursday, June 30, 2022 9:35 AM
 To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New
 Era ADR

 Thanks Sandy. We agree that New Era can have 30 days to respond to both subpoenas from
 yesterday, but since New Era has already had the depo subpoena for some time, we’d ask that New
 Era’s responses to both subpoenas be substantive so we can meet and confer promptly after
 receiving them, if necessary, and move forward quickly with New Era’s document production and
 scheduling the 30(b)(6) deposition. We also request that New Era provide proposed search
 parameters (i.e., search terms and document sources/custodians) with its responses in order to
 facilitate this process.

 Speaking after the holiday weekend sounds good, and just let us know what times you prefer.
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                                 #:1020

 Best,

 Will
 From: Sandra Musumeci <SMusumeci@rshc-law.com>
 Sent: Wednesday, June 29, 2022 9:00 PM
 To: Will Sears <willsears@quinnemanuel.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: RE: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New
 Era ADR

                               [EXTERNAL EMAIL from smusumeci@rshc-law.com]


 Thank you for the quick response, Will. We also do not know how it happened that the registered
 agent received one subpoena and not the other, but we agree to now accept service via your email
 with understanding that our time to respond to both subpoenas will start tonight so that we can
 consider them together. And yes, it makes sense for the deposition to follow document production,
 as you note.

 Please allow us a little time to review the document subpoena, and I will follow up to arrange a call –
 perhaps right after the holiday weekend – to discuss any questions or concerns we have.

 Many thanks,
 Sandy


 Sandra L. Musumeci
 Riley Safer Holmes & Cancila LLP
 Direct: 212.660.1032
 smusumeci@rshc-law.com
 www.rshc-law.com




 From: Will Sears <willsears@quinnemanuel.com>
 Sent: Wednesday, June 29, 2022 10:56 PM
 To: Sandra Musumeci <SMusumeci@rshc-law.com>; wdp@kellerpostman.com;
 albert.pak@kellerpostman.com; Adam Wolfson <adamwolfson@quinnemanuel.com>; Kevin Teruya
 <kevinteruya@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: [EXTERNAL EMAIL] RE: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era
 ADR

 Hi Sandy –
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                                 #:1021


 Thanks for reaching out. The document subpoena is attached. This was sent out for service with the
 deposition subpoena and we were informed it had been served (as per the attached proof of
 service), so we are not sure what happened, but we appreciate you bringing it to our attention.
 Please confirm you’ll accept service via email.

 We’re happy to discuss when convenient. Please let us know when works.

 In terms of the deposition, we are fine rescheduling it, and would like to do so after New Era
 completes its document production in response to the subpoena. For that reason, it may make
 sense to sort out the location/logistics for the deposition after you have reviewed the document
 subpoena, but I’m happy to discuss that on our call too if helpful.

 Best,

 Will Sears
 Associate
 Quinn Emanuel Urquhart & Sullivan, LLP
 865 S. Figueroa Street, 10th Floor
 Los Angeles, CA 90017
 213-443-3282 Direct
 213-443-3000 Main Office Number
 213-443-3100 Fax
 willsears@quinnemanuel.com
 www.quinnemanuel.com

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 message.




 From: Sandra Musumeci <SMusumeci@rshc-law.com>
 Sent: Wednesday, June 29, 2022 4:33 PM
 To: wdp@kellerpostman.com; albert.pak@kellerpostman.com; Adam Wolfson
 <adamwolfson@quinnemanuel.com>; Kevin Teruya <kevinteruya@quinnemanuel.com>; Will Sears
 <willsears@quinnemanuel.com>
 Cc: Sondra Hemeryck <Shemeryck@rshc-law.com>
 Subject: Heckman v. Live Nation Entertainment, Inc. Subpoena to New Era ADR

                                      [EXTERNAL EMAIL from smusumeci@rshc-law.com]


 Good afternoon,

 I represent New Era ADR, Inc. (“New Era”), in connection with the deposition subpoena that you
 issued to New Era on or about June 14, 2022. I am reaching out, first, to introduce myself, and
 second, to inquire whether we might be missing some pages pertaining to documents. We have
 only received a subpoena requesting a Rule 30(b)(6) deposition. That subpoena includes a list of
 topics for such a deposition, including, in Topic 10, “All DOCUMENTS produced by YOU in this action
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                                 #:1022

 ….” However, there is nothing requesting that we produce documents. We also noticed that a draft
 Document Subpoena to New Era was filed with the court in the motion practice preceding our
 receipt of the subpoena, but again, we never actually received a document subpoena. Thus, without
 waiving any rights that New Era has in connection with any subpoena, we are inquiring whether
 Plaintiffs also intended to serve New Era with a document subpoena, as no such document
 subpoena has been received. If there is a document subpoena, could you please send it to me at
 this email address? We would like to review all subpoenas to New Era together as we prepare to
 respond.

 Once you have sent over the document subpoena, or confirmed that you are only serving a
 deposition subpoena on New Era, perhaps we can find time for a short call to discuss? While we of
 course would like to review all subpoenas before responding, I am happy to preview that I expect
 that we will ask to reschedule the deposition to a date in August and that we will also seek to
 conduct the deposition in Colorado, rather than Chicago. Given that New Era is a nonparty to this
 litigation, and presumably counsel will be traveling regardless, I would hope that this request could
 be accommodated.

 Thank you for your prompt response regarding the materials that were meant to be served on New
 Era.

 Regards,
 Sandy Musumeci

 Sandra L. Musumeci
 Riley Safer Holmes & Cancila LLP
 Direct: 212.660.1032
 smusumeci@rshc-law.com
 www.rshc-law.com




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 have received this e-mail in error, please notify us immediately by telephone at (312) 471-8700 and
 also indicate the sender's name. Thank you.
